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IN T'HE UNITED sTATEs I)ISTRICT CoURT
FoR THE DISTRICT on coLUM:BIA

Holding a Criminal Term
Grand Jury Sworn in on November 3, 2016

UNITED STATES OF AMERICA : CRIMINAL NO.
_ Grand Jury Original
v.
ABUL HUDA FAROUKI, : 18 U.S.C. § 1031(a)
' MAZEN FAROUKI, ` : (Maj or Fraud Against the United States)

and SA_LAI-I MAAROUF, '

. 18 U. S. C. § 2
Defendants. : (Aiding and Abetting, Causing an _Act to '

' be Done) 4 .. ' ’

50 U.S.C. § 1705

 

t j *` _` : (Conspiracy to Violate IEEPA)

Case: 1:18-cr-00346
Assigned To : Judge Trevor N. N|cFadden ~ 18 U-S-C-_§ 1955(3)(2)(A)) and §h)
Assign. mate : 11/27/2018 = (Ivtervatwnal Money Laundermg)

Description: |ND|CTMENT (B) 18 U S C §§ 981(3)(1)(€) and gsz(a)(l)

28 U. S. C. § 2461(c)
(Criminal Forfeiture)
INDICTNIENT
The Grand Jury charges that: '
General Allegations

At all relevant times to this Indietment, unless otherwise stated:

Relevant Entities

1. _ thom cmo (“tham”) was o corporation founded in 2004 in Dubai§ Uoi`tod. '
Arab Emirates (“UAE”). Anham maintained associated offices in Dubai, Jordan and the United

‘ States.

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»2_. Anham U.S.A., Inc. (“Anham U.S.A.”), formerly Nour U.S.A., was a corporation
formed in the Commonwealth of Virginia in May, 2003 that provided training,: project j
management, logistics, supply, and warehousing services, including to the U.S. government
pursuant to contracts awarded to Anham.

-' 3. Unitrans Intemational lncorporated (“Unitrans”) was a corporation formed'in the _
Commonwealth of Virginia that provided international logistics services, including arranging -
implementing, facilitating-, and managing the international movement of cargo for Anharn.

4. Tracks International (“Tracks”) was a corporation formed in Jordan in or about
2009 with its headquarters in Arnman, .lordan, which provided logistics services. Tracl<s was 80%
owned by A_nham and 20% owned by Unitrans. ln 2011 and 2012, Tracks had a management z
agreement With Unitrans in which Unitrans_ provided management services to Tracks in return ford
l a percentage of Tracks’ revenue. Some Tracks and Unitrans employees had email addresses at
both companies 'I`he president ~of Tracks was a Vice president of the Unitrans affiliate in
Arghanistant n

5. American International Services (“AIS”) is a subsidiary of the holding company
that owns Unitrans. AIS purchased goods and services for Anham.

6. Transshipper #l is a transportation company headquartered in Dubai, UAE

7 . Transshipper #2 is a_transportation company headquartered in Mersin, Turl<ey. l

8. The Defense Logistics Agency (“DLA”) is an agency of the United States. lt is the
Department of Defense’s (“DoD”) largest logistics combat support agency, providing worldwide
logistics support in both peacetime and wartime to the military-service branches as well as_ several

n civilian agencies and foreign countries DLA 'I`roop S'upport (“DLATS”) is a sub-agency`of DLA` `

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‘md'supporm_ DoD through five supply chains: subsistence, clothing and textiles, construction and
equipment, medical, and industrial hardware

9. The Bagram Regional Contracting Center (“BRCC”) is a DoD contracting office
located at Bagrarn Airiield, Afghanistan. The BRCC solicited bids and proposals and awarded

d U..S Army contracts in Afghanistan. 1
The Defendants '

10. ABUL HUDA FAROUKI, a United States citizen, was the ChiefExecutive Oflicer
of Anham and Anham U.S.A. Through a holding company, AB_UL HUDA FAROUKI held an
ownership interest in Unitrans and also owned 50% ofAnham U.S.A. and 25% of Anham All of '
the employees of Anham, Anharn U.S.A., and Unitrans ultimately reported to him.

11. MAZEN FAROUKI, a United States citizen, was the founder and President of
Unitrans through2014 and was also the president of Unitrans Afghanistan, Unitrans’ Afghan
araiiaro. MAzeN FARouKI is aro brother or ABUL HUDA FARoUKI. l

12. SAi,AH MAAROUF, a United States citizen, operated AIS.

' rho st-A conrraor

13. On or about April 26, 2011, DLA'l`S solicited bids on a contract to supply food and ;
other subsistence items for U.S. troops in Afghanistan. That contract was known as the
. Subsistence Prime Vendor - Afghanistan (“SPV-A”) contract DLATS’ Solicitation set forth that
the successful contractor must, among other things, provide warehouses in Afghanistan that could
' Store very large amounts of both refrigerated and dry goods. DLATS’s solicitation also noted that__.
a prospective contractor must “clearly address within their proposal whether construction is
contingent upon award . . . or ongoing,” and that “[i]f some aspects of construction are ongoing,

while others are contingent, this must be clearly differentiated.” The SPV-A was a “fixed price”

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contract awarded at approximately a total of $8 billion, which was set to run for a term of 66
months._

l¢l. n The United States Treasury Department, at the direction of the President, pursuant l
to his authority under the International EmergeneyJ Economic Powers Act (“IEEPA”),

implemented regulations against the Islamic Republic of lran, entitled the Iranian Transactions and

Sanctions Regulations,1 codified Part 560 (the “1'1`_SR”). Among other things, the ITSR prohibited _ _- ' A'

U.S. persons from shipping material'sto o`r through Iran and from approving, financing, facilitating,
or guaranteeing any transaction by a foreign person where the transaction by that foreign person
would be prohibited if performed by a United States person. 31 C.F.R.- §§ 560.203, 204, 206, 208,
and 403. The SPV-A solicitation required a bidder to certify that it, and any person owned or _,
controlled by the bidder, would abide by all U.S. laws in general; and, specifically, agreed to abide

by Tino 43 CFR 52.225-13 which aaron

“(a) Except as authorized by the Of_tice of Foreign Assets Control (OFAC) in the

Department of the Treasury, the Contractor shall not acquire, for use in the performance j ' '

_of this contract, any supplies or services if any"proclamation, Executive order, or statute
administered by OFAC, or if OFAC‘s implementing regulations at 31 CFR chapter V,
would prohibit such a transaction by aperson subject to the jurisdiction of the United

States. v

`(b) Except as authorized by OFAC, most transactions involving Cuba, lran, and Sudan
are prohibited, as are most imports from Burma or North Korea, into the United States or

its outlying areas. Lists' of entities and individuals subject to economic sanctions are

 

1 The ITSR was originally known as the ITR. lt was re-named the ITSR in or around October,
2012. The regulations will be referred to as the ITSR herein.

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included in OF_AC's List 'of Specially Designated' Nationals' and

Blocked Persons at htzp://www. treas.gov/ojj’ices/enforcement/ofac/sdn. j

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15. Additionally, the SPV-A contract incorporated the ITSR by reference and required

successful bidders to certify that they would comply with all executive orders, proclamations and
statutes administered by the Oftice of Foreign Assets Control (“OFAC”), of the United States
Department of the Treasury, which included the ITSR. The contract also required the successful
bidders to comply with, and to ensure that their personnel, subcontractors, and their employees, at

' all tiers, were aware of and complied with, all U.S. and Host Nation laws, federal or DoD
regulations, and U.S. Central Command orders and directives applicable to personnel in Iraq and
Afghanistan, which included the ITSR.

16. On or about luly 11, 201 1, Anham submitted a proposal on the SPV-A contract that
represented that Anham would build two warehouses on a complex near lBagram -Airiield to meet
the SPV-A solicitation requirements Anham’s bid represented that the warehouses would be
completed by late December, 2011. As part of its proposal, Anham certified that it would not
violate OFAC regulations n

17 . Following a competitive bidding process, DLATS awarded the SPV-A contract to
Anham on or about lune 22, 2012. On or about June 22, 2012, D.B., the Anham Managing .

~ Director, signed the SPV-A contract on behalf of Anharn. The box certifying compliance with the "
ITSR was checked on the contract that D.B. signed. n l
The NAT Contract

18. On or around February 22, 2011, DoD, acting through the BRCC, solicited bids on
the National__Afghan Trucking (“NAT”) contract, to supply trucking services for the UlS. military

in Afghanistan. The contract required the successful bidder, among other things, to have a'

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significant number of trucks and trailers in Afghanistan. The BRCC awarded multiple'task order
contracts under the NAT contract totaling approximately $984 million. During the years 2011 and

2012, the NAT award was the largest in Afghanistan theater history.

_19. ' The NAT contract incorporated the ITSR by reference and required thefsu_ccessful j '~ z "

bidder to certify that it was in compliance with OFAC regulations which included the lTSl{ by l
' checking a box on the contract that referenced them. The NAT contract also incorporated
provisions that required the successful bidder to comply with and 'to ensure that its personnel, its
subcontractors and their employees, at all tiers, were aware of and complied with, all U.S. and `
Host Nation-laws, federal or DoD regiilations, and U.S. Central Command orders and directives
` __ applicable to personnel in lraq and Afghanistan, which included the ITSR.
20. On or about February 7, 2012, the BRCC awarded part of the NAT contract to
' Anham in the amount of approximately $423 million for a base term of 12 months with two' 12 ~
month options On or about February 11, 2012, D.B. signed the NAT contract on behalf ofAnharn.
` The box certifying compliance with Oi"AC regulations including the ITSR was checked on the
contract that D.B. signed. `
QO_U_I~I_TO_IW
Maj or Fraud Against the United States
(18 U.S.C. §§ 1031(a) and 2)

21. Paragraphs l through 17 of this Indictment are re-alleged and incorporated by
reference as if set out in iiill.

22. ' From in or around November 2011 and continuing to in or about n/Iay 2015, in the _
District of columbia, the defendants ABUL HUDA FAROUKI, MAZEN FAROUKI, and
SALAId MAAROUF, and others, known and unknown to the Grand Jury, in the procurement of

property and services as a prime contractor on a contract with the United States with a value in

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excess of $1,000,000, did knowingly execute a scheme and artifice with the intent: (a) to de&aud
the United States; and (b) to obtain money and property by means of materially false and fraudulent t .
pretenses,` representations and promises y
Purpose of the Schemc and Artiiice

23. lt was the purpose of the scheme and artifice for the defendants and others to
unlawfully enrich themselves by winning the award of the SPV-A contract, by making material
false and fraudulent statements to DLATS and by shipping construction materials and associated
containers through Iran and by shipping the empty containers back through Iran in violation of

OFAC regulations including the ITSR, and the portion of the SPV-A contract that incorporated

_ the OFAC regulations including the ITSR, to reduce Anham’s overhead costs associated with the " ' -

SPi/;A contract
T_he Scheme and Artifice to Defralg

24. On or about July 13, 2011, and in response to DLATS’ SPV-A contract solicitation
requiring that prospective contractors demonstrate their capability of performing the contract by
specifying how they would have suitable warehouse facilities in Afghanistan capable of storing
frozen and dry goods, the defendants caused Anham to represent in its bid proposal-to DLATS that
Anham was in the process of “constructing a state-of-the-art warehouse complex” near Bagram
' Airfield in Afghanistan, and that construction of the facility would be complete by December, .
"2011-. ' l 1 v

25. Throughout the bidding process on the SPV-A contract, ABUL HUDA FAROUKI,
and SALAH MAAROUF, and others, deceived DLATS by making numerous misrepresentations
to DLA'l`S regarding their intention to build compliant warehouses at the proposed Bagram n

warehouse complex, and also by misrepresenting the construction status of the warehouses by

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submitting to DLATS photographs of a construction site that was deceptively staged to appear as
if Anham had made meaningful progress on the completion of the warehouses

a. ABUL HUDA FAROUK_I and other Anham employees knew that on or

about December 1, 2011, little construction work had taken place on the Bagram warehouse

complex_specifically, that “holes [were] dug and concret[e] [was] poured for the base of the

, supporting columns” for the first warehouse, that there was “no visible structure” for the first

warehouse and that “no work whatsoever” had been done on the second warehouse ABUL
HUDA FAROUKI, SALAH MA`AROUF and other Anham employees also knew that engineers

believed May 2012 to be an “[o]ptirnistic completion date” for the construction of the Bagram

, warehouse complex.

b. ABUL HUDA FAROUKI and other Anham employees knew that as of on

. or about December'2, 2011, in the words of a part owner of Anham, Anham was only authorizing

the construction of two "‘shells of a warehouse without any cold storage equipment, racking . . .' [,] d
or maj or external site works,” and that the additional work would not be authorized “until a clear

intention of an awar ” because the work would cost “an additional 4-6 million dollars per

warehouse ” which Anham was “not prepared to commit to at this stage.”

" c. Despite having made little progress with construction at the Bagram

___wareh_ouse facility-and with no intention to fully construct a compliant warehouse complex prior

to contract award-the defendants caused D.B., on behalf of Anham, to submit a letter to DLATS
on or about December 7, 2011, falsely representing that “major construction activities” for the
Bagram' warehouse complex commenced at “the beginning of November 2011, ” and that “[t]he
key metric is that the-Bagram Farm warehouse . . . will be fully completed and operational more

than a month and a half before” initial performance was required under the SPV-A contract,

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assuming that Anham received authorization from DLATS to proceed on the contract by the end
of lanuary 2012. D..B then falsely represented in the December 7, 2011 letter, as well as in a
December 21, 201 1 letter, that construction of the Bagram warehouse complex would be complete
on or around February 28, 2012.

d. On or about February 2, 2012, DLATS requested that Anham provide
updates_ to construction timelines and photographs demonstrating progress with construction by on
or about February 6, 2012. Because Anham had done little construction as of February 2, 2012-,
ABUL HUDA FAROUKI and other top managers of Anham held a meeting during which the

participants agreed to deceive DLATS by creating the appearance of a busy construction site with
meaningful progress being made on the warehouses
l __ e. Be`tween on or. about February 3, 2012, and February 6, 2012, the
defendants and others caused Anham employees and others working at the direction of Anham to
transport construction equipment, prefabricated sheds, generators, empty shipping containers and
a construction crane to the site of the proposed Bagram warehouse complex to create the false v
appearance of an active construction site. In addition, because the high-grade steel being
transported through Iran had yet to arrive and suitable local steel had not yet been purchased,
Anham employees purchased steel columns of a lesser size than had been planned from an Afghan
_.vendor so that Anham employees could construct a row of columns intended to look like a
warehouse frame The defendants then directed an Anham employee to photograph the staged
construction site.. The staged site then was deconstructed after the photographs had been taken.

f. On or about_February b, 2012, D.B., with the knowledge of the defendants
provided DLATS with the photographs along with a status report containing several

misrepresentations about the work that had been completed on site_specifically, that Anham was

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“in substantial conformance with [its] previous construction plans and schedule,” other than an
approximately 10-day delay in performance, and that “[t]he photographs are demonstrative of,”

among other things “[s]teel support columns . . . being erected as per the schedule.” With the

knowledge of the defendants, D.B. also stated to DLATS on or about February 6, 2012, that “All _ ~

pre-manufactured building materials in the supply chain have_either arrived on site or are-on `
transports and will arrive shortly.” lt was known to defendants at that time that none of the pre-_
manufactured buildiug'rrratcrials had urrivcd orr sac.

- 26, On or about February 13, 2012, D_LATS employees met to discuss the various bid
proposals for the SPV-A contract As a result of that meeting, DLATS drafted the “Source
Selection Advisory Council Recommendation,” and the report was finalized on or about March
23, 2012. The fmal report noted that while ‘fAnham does represent some heightened risk arising
out of the fact that the infrastructure . . . is only partly in place,” the committee “became more .

. comfortable '. . . as Anham has addressed that concern with pictures of progress.”- The committee z
v n then concluded that Anham could “successfully perform the contract requirements,” and the
committee ultimately recommended that Anham receive the 'SPV-A contract
27.- ` As required by the solicitation for the SPV-A contract, D.B., as Managing Director y
.of Anham, certified as part of its proposal that as a contractor, Anham would- not violate any v
provision of the OFAC regulations including the ITSR. During the bidding process and both
before and after the award of the SPV-A contract on or about lune 22, 2012, however, the
. defendants knowingly engaged in, and directed others to engage in, the practice of shipping goods
and materials across lran, in violation of the OFAC regulations including the ITSR, while
. concealing their scheme from DLATS and the Treasury Department’s Office of Foreign Assets

Control (“OFAC”), located in the District of Columbia. Anham also engaged in the practice of

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dealing in, in the performance of the SPV-A contract, goods and materials which had been shipped
' across Iran in violation of OFAC regulations making such goods and materials goods of lranian
origin, and making their use a violation of OFAC regulations

28. _ When Anham submitted its bid proposal on the SPV-A contract, it submitted a list
of vehicles it would use to perform the'contract. lncluded in that list were trucks-and trailers that
the defendants had caused Anham to ship across lran to Afghanistan between on or about 2009
and on or about 2010, in violation of OFAC regulations including the ITSR.

l " 29. _ br cdditiot_r, bcgirmiug iu or about Novcrubcr 2011, dcrcudauts ABUL- nunn
FAROU_KI, MAZEN FAROUKI, SALAH MAAROUF, separately, together, and with others
n routinely discussed in internal cormnunications the transshipment of warehouse components
through lran, for the purpose of saving time and decreasing the need to expend costs for the project
prior to the awarding of the SPV-A contract Then, between on or about January 2012 and on or
about Ju_ly 2012, the defendants caused and paid Transshipper #1 and Transshipper #2 to ship the
steel components of the Bagram warehouse and other warehouse components in containers acioss
lran en route to Afghanistan and to ship the empty containers back across lran, all in violation of
OFAC regulations including the ITSR, as follows:

a. In an email chain that occurred on or about December 7-8, 2011, an

z employee of Anham advised an employee of Unitrans that Anham’s efforts to ship steel to

v n Afghani_stan for the purpose of building a warehouse were frustrated by the fact that Pakistan had
4 closed its border crossing and that Unitrans and Anham needed to find alternatives The Unitrans 1

employee responded: “Mazen suggested to Huda that we transport through Iran. He is working on

this.” The Unitrans employee then forwarded the email exchange to MAZEN FAROUKI, who

responded “noted.”

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b. _ On or about December 9, 2011, an executive of Unitrans solicited
} information from others at Unitrans and Anham for information on agents currently transporting
goods across Iran. ~
c. ln response to a December 12, 2011 email chain discussing Anham’s plan
to ship materials through Iran, an employee of Anham wrote: “can you please take me off the z
emails. l am neither interested nor concerned with shipments going through Iran.” An employee ' `
of Unitrans then replied: “how many times do we need to request to remove the mentioning of a
specific country in all emails. STOP that mentioning please IMl\/IEDIATELY.”
d. . In an email dated on or about December 15, 2011, SALAH MAAROUF l
informed ABUL HUDA FAROUl§I that Anham had the option of avoiding transit through lran l
by shipping materials to Afghanistan via air freight, but that air freight would be far more
v expensive than sending the materials through Iran. SALAH MAAROUF then forwarded this
l email to MAZEN FAROUKI who then emailed ABUL HUDA FAROUKI to suggest using
airfreight to~send just five containers of steel to Kabul for about $200,000. A_BUL HUDA >
FAROUKI responded: “not necessary.”
f bn e. ln an email dated on or about December 18, 2011, in response to a request
by the head of Tracks for authorization to ship through Iran, MAZEN FAROUKI advised a
Unitrans employee that “it has been decided by ‘all’ that we use two routes . . via `Kara.ch`i
_ [Pakistan] [ancl] Via Bandar Abbas [Iran].”
l - f. On or about December 20, 2011, employees of Tracks notiiied Transshipper
#1 that Anham was ready to enter into contracts for the shipments to Afghanistan for which Anham
l had previously sought quotes and that they hoped to be able to start getting containers onto-ships } h -

by January, 2012.

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g. Between on or about December 20 and December 27, 2011, Tracks

employees sought and received additional quotes nom shipping companies to compare the costs

of shipping containers nom Riyadh, Saudi Arabia to Kabul through Bandar Abbas, Iran with the

costs of shipping through Pakistan. Tracks employees forwarded the information to MAZEN
FAROU_KI and S_ALAH MAAROUF.

h. 7 On or about January 7 , 2012, defendant SALAH MMOW emailed
employees of Unitrans, Tracks, and Anham USA. The email was headed “Containers through
Bandar Abbas” and asked for advice on what documents were required for such shipments ' '

i. On or about February 2, 2012, Unitrans sent a wire transfer for
approximately $51,319 from its account at PNC Bank in the United States to Transshipper #l’s
account at Abu Dhabi Commercial Bank in the United Arab Emirates (“UAE”) to pay an invoice
for the shipment of five containers from Riyadh, Saudi Arabia, to Bandar Abbas, lran, enroute to `
Afghani_stan. n

j. On or about February 14, 2012, Unitrans sent its invoice numbered 9107 to
defendant Anham for reimbursement for the $51,319 Unitrans had sent to Transshipper #1.

k. On or about February 14, 2012, Unitrans sent a wire transfer 'for
approximately $52,876 nom its account at PNC Banlc in the United States to Transshipper #1 ’s
account at Abu Dhabi Commer`cial Bank in the UAE' to pay an invoice for the shipment of five
additional containers from Riyadh, Saudi Arabia to Bandar Abbas, Iran, en route to Afghanistan.

-_ v1. n ' On or about February 14, 2012, Unitrans sent its invoices numbered 9108'
and 9111 to Anham for reimbursement for the amount of $52,876 Unitrans had sent to_

"l`ransshipper #1.

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m. In an email dated on or about March 5 , 2012, an Anham employee advised
MAZEN FAROUKI and others that shipping material through Iran would jeopardize Unitrans’s
relationship with its bank: “the other alternative of shipping route as I was told is thru Iran and' this
solution will put Anham in trouble with the bank and accordingly they will not accept the shipping
documents they will reject to pay for the [letter of credit].”

n. On or about April 8, 2012, Unitrans sent its invoice numbered LC-lS to
Anham for reimbursement for approximately $306,114.34 Unitrans had sent to Transshipper #l
for various expenses, including ocean shipping 24 containers from Saudi Arabia to Bandar Abbas,
Iran, en route to Afghanistan.

0. On or about April 30, 2012, Anham wire transferred approximately
$306,114.34 for payment of Unitrans invoice LC-18 from its account at Arab Bank in Bahrain to
Unitrans’ account at PNC Bank in the United States for reimbursement of invoices paid by
Unitrans to Transshipper #l for ocean shipping from Saudi Arabia to Bandar Abbas, Iran.

p. On or about May 30, 2012, Anham wire transferred $376,714.19 from its
account at the Bank of Georgetown in the District of Columbia to Unitrans. The payment Was
reimbursement to Unitrans for: (1) payments by Unitrans to Transshipper #2 for invoices related
to containers shipped through Iran; and (2) to another company for land transportation of
containers, which had been moved across Iran, from the Afghan border to Kabul or Bagram. The
Wire transfer was Sent to the same account from which Unitrans had paid Transshippers #l and #2
for its services in transporting goods across Iran.

30. On or about June 22, 2012, on behalf of Anham, D.B. signed the SPV-A contract,
which represented that Anham agreed to comply with OFAC regulations including the ITSR. As

of June 22, 2012, ABUL HUDA FAROUKI, MAZEN FAROUKI, and SALAH MAAROUF then

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and there well knew that Anham and Unitrans had already transshipped, and continued to
transship, materials associated with the SPV-A contract, including many of the components of the
warehouse in Bagram through lran and that Anham was dealing in and was planning to continue
to deal m goods of lranian origin, in violation of OFAC regulations, including the ITSR.

31. After being awarded the SPV- A contract, and despite full knowledge of Anham
engaging in activities that vinrnted oFAc tngnratinnn intruding the rrsR, - ABUL HUDA
FAROUKI, MAZEN FAROUK_l, and SALAH MAAROUF made numerous misrepresentations to
n Dl_,ATS for the purpose of covering up their involvement in the fraudulent scheme, including the v
`following: 7 n

a. On or about September 12, 2013, D.B., on behalf of Anham, submitted a
letter to the United States Department of Commerce in the District of Columbia stating that the
. -_company had recently discovered that it had transshipped material through lran. ln fact, Anharn’s
' leadership, including ABUL HUDA FAROUKI, had known since late 2011 that Anham had been j

shipping goods and materials through Iran.

b.‘ On or about September 12, 2013, during a meeting in Baku, Azerbaijan, an

lAnham executive represented to DLA Oflicial # 1, who was at that time the top oflicial in charge
of DLATS, that Anham had not transshipped goods through lran, when Anham executives then l
_ and there well knew that this statement was false.

c. On or about September 23, 2013, Defendant ABUL HUDA PAROUKI sent

' an email to_ DLA' Ofticial # 2, who was the head of DLA, informing him that the Wall Street l
Journal was about to publish a story about Anham’s shipments of warehouse components and
trucks across Iran. The email claimed falsely that senior management at Anham had not had any

knowledge of the transshipments at the time they took place, when in fact senior management had

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not only known about the transshipments but had made the decision to transship and had organized
the activity.

d. On or about September 27, 2013, the day after the Wall Street Journal
reported that Anham had transshipped goods through-Iran, ABUL HUDA FAROUKI made the
following representation to DLA Offrcial # 2,‘ which ABUL HUDA FAROUKI then and the‘re well '
knew to_` be false:' “bas_ed on the current state of the investigation, Anham estimates that
approximately four out of some fifty shipments for the warehouse materials rn`ay be involved,
' during the period When the Pakistan border was closed as these shipments were originally destined

_for Pakistan . . Top management at Anham had no knowledge of these shipments and upon
_, learning of this possibility made a voluntary disclosure to the U.S. government that Anham was
investigating whether any violations had in fact occurred.” ‘

e. On or about October 1, 2013, following the Wall Street Journal report,
ABUL HUDA FAROUKI made the following representation in an email to DLA Official # 2,
which ABUL HUDA FAROUKI then and there well knew to be false: “it appears that the foreign
employee was correct about the legality [of the transshipment], but obviously, top management
- would never have permitted that decision had we known for a host of reasons. . . no shipments are
ever permitted through Iran and that is formal company policy.”

f. On or about lune 26, 2014, Unitrans, through its agents, submitted a letter to

the United States Department of Commerce Bureau of lnclusz and Security OfEce of Export

` ' Enforcement (“BIS”) in the District of Columbia asserting that a disclosure that the company made

in September 2013 came “days after finding out about the potential violations.” MAZEN
' FAROUKI certified this letter on behalf of Unitrans despite his having known of the transshipments

and their illegality for over a year.

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COUNT TWO
Major Fraud against the United States
(18 U.S.C. §§ 1031(a) and 2)
‘32. v Paragraphs 1-13, 15-16; 13-20 and 28-31 ar this Indictment are ta-ariagad and
' incorporated by reference as if set out in full.

33. . From in or around April 26, 2011 and continuing to on or about _October 1, 2013, '
in the District of Columbia, the defendants, ABUL HUDA FAROUKI, MAZEN FAROUKI, land
SALAH MAAROUF, and others, known and unknown to the Grand Jury, in the procurement of
property and services as a prime contractor on a contract with the United States with a value in
excess of $1,000,000, did knowingly execute a scheme and artifice with the intent: (a)_ to defraud
_ the l_lnited'_States;_ and (b) to obtain money and property by means of materially false and fraudulent _
pretenses, representations, and promises l v

Purpose of tire Sche_m@nd Artifice

34. lt was the purpose of the scheme and artifice for the defendants and others-to
unlawfully enrich themselves by concealing the fact that they were shipping trucks and trailers
across Iran in violation of OFAC lregulations including the ITSR and the blAT contract in order to
` decrease expenses associated with transporting the trucks and trailers to Afghanistan to perform
the contract, rather than by shipping the truck and trailers using legal, but more costly, routes. lt '
was a.further part of the scheme that the defendants planned to use and deal in the-trucks.and 3
trailers in the performance of the NAT contract despite the fact that the equipment had become

goods of Iranian origin and that Anham’s continued dealing in those goods was a violation of

oFAC ragnratians.

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The Scheme and Artifice to Defrau'd
35 . To obtain the NAT contract; which required the use of heavy trucks and_trailers in

Afghanistan to move U.S. military vehicles and goods, Anham\ agreed to abide by OFAC
regulations including the ITSR.

. 36. To decrease its costs in carrying out the NAT contract, the defendants, ABUL
` HUDA FAROUKI, MAZEN FARoUKr, and sALAH MAAROUF, and atlanta known and
unknown to the Grand Jury, illegally shipped the necessary trucks and trailers to Afghanistan
through lran_ instead of using legal, but more expensive routes, and then concealed this material
fact from‘DLATS and OFAC, located in the District of Columbia. The defendants then used bank
accounts held by Anham, including the account that Anham held at Bank of Georgetown in the
District of Columbia, to finance the movement of trucks and trailers through Iran.

, a.' On or about November 23, 2011, defendant MAZEN FAl{OUKI ?emailed
another _Unitrans executive and a consultant who had worked for defendant Unitrans and asked for
a price quote to ship the Mercedes trucks needed for the NAT contract, asking for the “cheapest
way even through Iran if necessary." n

_ -b. On or about November 28, 2011,_ an executive of Unitrans emailed H-
defendants SALAH MAAROUF and MAZEN FAROUKI _to inform them that defendant ABUL
HUDA FAROUKI wanted certain trucks, needed for the NAT contract, which were to be
‘ transported to Afghanistan through lran.

. c. d On or about January 23, 2012, Tracks sought a quote from Transshipper #1
for shipping 25 Mercedes trucks (needed by Anham for the NAT contract) from Kuwait to Kabul,

f asking for the best mode, either by sea to Bandar Abbas, lran, or by land all the way to Kabul.

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d. On or about January 30, 2012, Tracks received an email from Transshipper
#l offering to move the 25 Mercedes trucks from Kuwait to Kabul by shipping them to Bandar
-Abbas and then transporting them through lran by land. Tracks immediately responded by asking d .
for Transshipper #l ’s rates. n
e. On or about February 2, 2012, Tracks forwarded three quotes it had received
for transportation of the trucks needed for the NAT contract to Anham and Unitrans and defendants
MAZEN FAROUKI and,SALAH MAAROUF. The quotes included transportation through lran. v
f. On or about April 17, 2012, the Chief Executive Officer of '-I`racks informed
Transshipper #2 that Tracks had received notice from Anham to proceed with the shipment of the
trucks, and that a ship would be arriving in Bandar Abbas, lran soon with the trucks and requiring z
Transshipper #2 to ' be ready to proceed. The message was copied to defendants SALAH
_ q MAAROUF and MAZEN FAROUKI.
g. On or about May 31, 2012, Unitrans paid approximately $250,000 from its
PNC Bank account xxxx2942 _ in the United States to Unitrans Afghanistan’s Afgharristan
lntemational Bank account x)norSOl'/' to pay invoice 41064 for expenses relating to the shipment
of Anham trucks, trailers, and material handling equipment (“MHE”) from Kuwait to Afghanistan
which had passed through Iran.
h..l Between May, 2012 and August, 2012, Anham caused Transshipper #2 to _
ship the trucks and trailers for the NAT contract and approximately four containers of MHE for the v
_ SPV-A contract across Iran.
i. ' On or about September 12, 2013, D.B., on behalf ofAnham, signed a letter
- ,. submitted to BIS in the District of Columbia. The letter was written after D.B. had learned that .

the WSJ was preparing a story about Anham’s transshipments across lran. The letter.purported to

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be a voluntary disclosure but claimed that Anham had just learned of the transshipments. ln truth '

and in fact, defendants ABUL HUDA FAROUKI, MAZEN FAROUKI, and SALAH MAAROUF

had all known of the transshipments since the initial decision had been made to transport the trucks
through lran.

COUNT THREE §

n Conspiracy to Violate the International Emergency Economic Powers Act (IEEPA) `
_ (50 U.S.C. §§ 1705(a) and (c)

37. Paragraphs 1-20, 22-31, 34-36, and all subparagraphs contained therein, of this

Indictment are re-alleged and incorporated by reference as if set but in full.

n 38. _ lBeginning in or around December 2011, and continuing through in or around May ' '
2015, defendants ABUL HUDA hAROUIU, MAZEN FAROUKI, and SALAH MAAROUF did
willfully combine, conspire, and agree with others known and unknown to the Grand Jury, to: (a)
commit offenses against the United States, that is, to export and approve, fmance, facilitate, or
guarantee'the exportation by others of goods, technology or services by a United States person to .
and through Iran, in violation of the prohibitions imposed upon Iran by the United States
Government, without first obtaining the required license from OFAC, located in the District of
Colurnbia, in violation of IEEPA,‘ Title 50, United States Code, Section 1705, 31 C.F.R. Part 344
.(also known as the -Weapons of Mass Destruction Proliferators Sanctions _Regulatiehs :'

. (WMDPSR)), 31 C.F.R. Parts 560. 203, 204, 206, 208 and 403, and 31 C.F.R. Part 594 (also known

ii as the Global Terrdrism Sanctions Regulations (GTSR)); and (b) defraud the United States

Government by interfering with and obstructing a lawful government iunction, that is, the

enforcement of laws and regulations prohibiting the export or supply of goods, technology, and

services 'to lran and other countries without having first obtained the required license from OFAC,

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by deceit, craft, trickery, and dishonest means, all in violation of Title 18, United States Code,
Section 371.

\

Purnose of the Conspiracv

39. The purpose of the conspiracy was for Anham and its principals to (1) increase the
profit margin that they received on the performance of government contracts, (2) gain a competitive
advantage over other contactors bidding on government contracts, and (3) evade the prohibitions of
OFAC regulations including the ITSR by concealing that Anham was trans-shipping goods through `
_Iran _en route to Afghanistan.

Manner_agl Means_of` the Conspiracl
40. The manner and means by which the defendants and other conspirators sought to .
' aceomplish the purpose of the conspiracy included, among others, the following:

a. , ABUL HUDA FAROUKI and others caused Anham to enter into the SPV-
A and NAT contracts,- which required Anham to transport goods and materials to Afghanistan.

b. _ ABUL HUDA FAROUKI, MAZEN FAROUKI, SALAH MAAROUF and
others determined that trans-shipping goods and materials through lran would be cheaper and
quicker than using other lawful routes and would therefore increase Anham’s chance of being

' awarded the SPV-A contract and increase its profit margin on the SPV-A and NAT contracts.

c. ABUL HUDA FAROUKI, MAZEN FAROUKI, SALAI-I MAAROUF and -
others arranged for Anham and Unitrans to ship goods and materials associated with the SPV;A
and NAT contracts to and from Afghanistan via lran.

d. ABUL HUDA FAROUKI, _MAZEN FAROUKI, SALAH MAAROUF,

' and others arranged for Anham and Unitrans to request quotes nom shippers to transport materials
l for the NAT and SPV-A contracts from Anham’s depots and from the vendors’ sites to k

Afghani'stan through Bandar Abbas, a port in Iran.
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' e. Anham and affiliated companies, including Tracks and Unitrans, entered
1 into contracts with Transshipper #1.antl Transshipper #2 for the transportation across lran of the
trucks and trailers and the warehouse components

f. ABUL HUDA FAROUKI attempted to conceal Anham and Unitrans’ s
- trans-shipments through Iran by falsely representing to DLA officials that Anham and Unitrans
. did-not transship through Iran and, subsequently, by denying to DLA officials that management _
at Anham was aware of the transshipments.

l Overt Acts in Furtherance of the Conspiracv

41. - In furtherance of the above-described conspiracy, and in order to carry out the
1 objects thereof, defendants ABUL HUDA FAROUKI, MAZEN FAROUKI, SALAH MAAROUF
and others committed or caused to be committed, the following overt acts:

a. Frorn. in or about January 2012 through in or about March 2012, the
defendants caused Anham to ship approximately 45 containers of steel that Anham used to
, construct the warehouse that Anham described in its bid to win the SPV-A contract`to Afghanistan .
through lran.

l b. ~ In March 2012, the defendants caused Anham to ship approximately 32 ._
containers of ceiling paneling that Anham used to construct the warehouse that Anham described
in its bid to win the SPV-A contract to Afghanistan through Iran.

c. ln May 2012, the defendants caused Anham to ship approximately 4
containers of MHE that Anham used to construct the warehouse that Anham described in its bidv
to win the Sf’V-A contract to Afghanistan through Iran. '

- d. In lVlay 2012, the defendants caused Anham to ship approximately 52

trucks and trailers to Afghanistan through lran for use in the performance of the NAT contract

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42.

COUNTS FOUR THRoUGH SEVEN _
Violation of the Intcrnational Emergency Economic Powers Act
_ (50 U.S.C. §§ 1705(a) and (c)) "

Paragraphs 1-20, 22-31, 34-36, 38-41, and all subparagraphs contained therein, of

` this Indictment are re-alleged and incorporated by reference as if set out in full.

43.

On or about the dates set forth below, in the District of Columbia, defendants

ABUL HUDA FAROUKI, MAZEN FAROUKI and SALAH MAAROUF did willfully export and

approve, tinance, facilitate, or guarantee the exportation by others ofgoods, technology or services

to and through Iran, without having first obtained the required license from OFAC, located_in

Washington, D.C., in violation of [EEPA, Title 50, United States Code, Section 1705, 31 C.F.R.

Part 544 (also knan as the Weapons of Mass Destruction Proliferators Sanctions Regulations

(wMDPsR)), 31 c.r.R. Parts 560. 203, 204, 206, 208 and 403, and 31 c.F.R. Part 594 (arsa known

as the Global Terrorism Sanctions Regulations (GTSR)).

 

DATE OF NUMBER OF DES CRIPTION OF MATERIALS

 

 

 

 

 

 

 

 

 

 

COUNT

` ENTRY INTO CONTAINERS
- IRAN
4 1/14/2012 through 45 _ - Steel construction materials

3/14/2012 ' '

5 3/11/2012 through 32 Ceiling panels.

_ 3/17/2012 '
6' 5/7/2012 4 Forklifts
7 5/7/2012 ' 52 Truclcs and trailers

Q_O_U_NM
Conspiracy to Launder Money
(18 U.S.C. §§ 1956_(a)(2)(A) and (h))
`44. ' 'Paragraphs 1-20, 22-31, 34-36, 38-41, 43 and all subparagraphs contained therein;'

_of this Indictment are red-alleged and incorporated by reference as if set out in full.

45.

Beginning in or around December 2011 and continuing through in or_ around

September, 2013, within the extraterritorial jurisdiction of the United States and the District of z

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Columbia, defendants ABUL HUDA FAROUKI, MAZEN FAROUKI, and SALAH MAAROUF
did knowingly combine, conspire, confederate and agree with others, known and unknown to §the ;
Grand Jury, to violate Title 18, United States Code, Section 1956(a)(2)(A) and (h), that is, by
transporting, transmitting, and transferring and attempting to transport, transmit, and transfer-1
monetary'instruments and funds to a place in the United States from and through a place outside
the United States, that is, Turkey and the UAE, and elsewhere, and by transporting, transmitting
and transferring and attempting to transport, transmit, and transfer, monetary instruments and
' funds to a place outside the United States, that is '.[`_urkey and the UAE and elsewhere, from and
through a place inside the United States, with the intent to promote thecarrying on of specified
unlawful activities, that is, criminal violations of the'IEEPA.
Purgose of the Conspiracy

46. The purpose of the conspiracy was for Anham to promote the illegal transshipment
of goo_ds, equipment, and other materials intended for the SPV-A and NAT contracts through Iran
by causing funds from bank accounts held in the United States to be'transmitted to entities outside `
of the United States and nom bank accounts outside thd United States to bank accounts in the
n United States.

Manner and Means of the Conspiracy

47 . ' The manner and means _by which the defendants and other conspirators sought to
__ accomplish the purpose of the conspiracy included, among others, the following:
a. Defendants caused Anham and its affiliated companies to contract with

Transshipper #l and Transshipper #2 in the U.A.E. and Turkey to transship the warehouse

components `and the trucks and trailers through Iran to Afghanistan'to win or fulfill the SPV-‘A '

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' and NA'l` contracts Defendants caused Unitrans to pay several of the invoices from the shipping
companies, to be reimbursed later by Anham. ’
b. Unitrans paid Transshipper #1 and Transshipper #2 by wire transfer ii'o_m 1
its bank in the United States to the accounts of the shipping companies outside the United States.
c. Defendants caused Anham to reimburse Unitrans for the payments to .
Transshipper #1 and Transshipper #2. Thosc repayments were made both from Anham accounts
, 4 outside the United States to Unitrans accounts inside the United States and nom Anham US-A 1
accounts in the United States. v n
d. _ Defendants caused Unitrans to wire funds from its bank accounts in the
United States to bank accounts of Unitrans Afghanistan outside the United States to promote the
_furtherance'of the shipments of warehouse components and trucks and trailers across Iran to _ § _
Anham’-s Bagram warehouse and other Anham facilities in Afghauistan. n
v Overt Agts in Ft_lrtherance of the Conspira_cy"

48. 1n furtherance of the above-described conspiracy, and in order to carry out the
objects thereof, defendants ABUL HUDA FAROUKI, M-AZEN FAROUKI, SALAH MAAROUF _
and others known and unknown to the Grand Jury committed or caused to be committed, in the

l " District of Columbia and elsewhere, the following overt acts, among others:
a. On or about February 2, 2012, Unitrans wire transferred approximately
$51,319 to Transshipper #1, from Unitrans PNC Bank account, number xxxx2942, in the United _ n .

States to an account in the name of Transshipper #1 at Abu Dhabi Commercial Bank in the UAE.

n ~ That payment was made to pay Transshipper #l’s invoice number 0825 for shipment of five

containers from Riyadh, Saudi Arabia to Kabul, via Iran.

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‘_ b. n On or about February 14, 2012, Unitrans sent its invoice number Ul\lI-‘

0000009_107 to Anham seeking reimbursement of the $51,319 it had paid to Transshipper #l. d

c. On or about February 14, 2012, Unitrans sent a wire transfer for
approximately $52,876 from its account at PNC Bank in the United States to Transshipper #1 ’s
. account at Abu Dhabi Commercial Bank in the UAE to pay an invoice for the shipment of five '
additional containers from Riyadh, Saudi Arabia to Bandar Abbas, lran, en route to Afghanistan.

d. On or about February 14, 2012, Unitrans sent its invoices numbered 9108
and 9111 to Anham for reimbursement for the amount of $52,876 Unitrans had sent to
rl`ransshipper #1. z n
z e. 7 On or about February 23, 2012, Unitrans paid approximately $34, 121 nom
its PNC Bank account xxxx2942 in the United States to Unitrans Afghanistan’s Afghanistan
Intemational Bank account xxxx8017 to pay invoice 40929 dated January 12, 2012 for expenses
relating to the continued shipment of 9 containers of Anham items from Saudi Arabia 'to '
Afghani_stan which had already passed through Iran. ,

f. co or about March 27, 2012, Unitrans paid approximately $20,600 from `
its PNC Bank account xxxx2942 in the United States to Unitrans Afghanistan’S Afghanistan _
`- Internaticnal_ Bank account xxxx8017 t`o payl invoice 40991 dated March 23, 2012 for'expenses_"
relating _to the continued shipment of 7 containers of Anham items from Saudi Arabia to
Afghanistan which had already passed through(lran. _ l

g. On or about April 11, 2012, Unitrans transferred approximately $112,840
from its PNC Bank account xxxx2942 in the United States to Transshipper #2’s bank account in

Istanbul, 'I`urkey for part of the shipment of 13 containers with steel components for the Bagram

warehouse which had been transshipped across Iran. The payment was in response to invoices

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from Transshipper #2 to Unitrans. Unitrans sent multiple invoices to Anham seeking
reimbursement for the payments to Transshipper #2
h. On or about April 23, 2012,An11am transferred approximately v-
$148,775.93 nom its account at the Abu Dhabi Islamic Bank, U.A.E, to Unitrans’ s account
number xxxx2942 at PNC Bank in the United States, following an email on the previous day `
from the Chief Financial Officer of Anham to executives at Unitrans, AIS, Anham and Anham
USA, including defendants MAZEN FARoUKi and sALAn MAAROUF, Shondng inn iiio
payment constituted reimbursement to Unitrans for expenses Unitrans had incurred in organizing
' and administering the shipment of warehouse components for Anham through Iran.
i. On or about April 9, 2012, Unitrans ordered its bank, Pl\lC, in the United
States,r to request a payment of approximately $306,114.34 pursuant to a letter of credit at `Arab 1 -
Bank. On the same day, payment on the letter of credit in the requested amount was approved by
a Managing Director and partial owner of Anham.
j. On-or about April 30, 2012, Unitrans received $306,114.34 in its PNC
‘ bank account in the United States from the Arab Bank in Bahrain.
k. z On or about May 30, 2012, the Chief Financial Officer of Anham emailed
Anham and Anham USA employees instructing them to pay $376,714.19 to Unitrans to l
reimburse Unitrans for its expenses in shipping the warehouse components nom Saudi Arabia to
A_fghanistan which had already passed through Iran. v
1. On that same day, Anham paid approximately $376,714.19 to Unitrans’s
' PNC account xxxx2942 nom its Bank of Georgetown account in Washington, D.C.
m. On or about May 31, 2012, Unitrans paid approximately $250,000 from

iis` PNC Bank oooonni nino;z942 in ino United stores io Unitrans Arghanision’s Arghonisinn `

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International Bank account xxxx8017 to pay invoice 41064 for expenses relating to the shipment -
of Anham trucks, trailers, and MHE equipment from Kuwait to Afghanistan which had been
" transshipped through nlran.

n. On or about October 23, 2012, Anham wire transferred approximately
3388,65'9.80 from account number xxxx8387 at Abu Dhabi Islamic Bank, UAE to Unitrans’s
account _xxxx2942 at PNC Bank in the United States. Atileast$SS,OOO of that amount was related
to the transportation`of components or equipment related to the lSPV-A contract

o. On or about November 16, 2012, Anham wire transferred approximately
1 $1 5,43 5 from its account number xxxx7801 at Emirates NBD Bank, Dubai, U.A.E., to Unitrans’s n j ‘ 1
, account number xxxx2942 at PNC Bank in the United States. The payment was to reimburse
"Unitrans for payments made for part of the costs of shipping four containers of MHE to Bagram, "
Afghanistan, through lran, for use in performing the SPV-A contract.

n _ p. On or about January 3, 2013, the Chief Financial Officer of Anham '
instructed Anham and Anham USA employees to pay a total of $217,125.84 to Unitrans for its
invoices 256 and 256-A, submitted to Tracks for llnitrans’ expenses in shipping Anham trucks,
trailers, and other equipment from Kuwait to Afghanistan through lran.

h q. ' n On that same day, Anham paid the invoices by transferring approximately -

$217,12,3.84 nom its Bank of Georgetown Account in Washington, DC, to Unitrans’s PNC

account xxxx2942.
FORFEITURE ALLEGATION
49. Upon ccnviction of any of the offenses alleged in Counts One and Two, the

defendants shall forfeit to the United States any property, real or personal, which represents or

is traceable to the gross receipts obtaincd, directly or indirectly, as a result of those violations.,

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pursuant to 18 U.S.Cr. § 982(a)(3). The United States Will also seek a forfeiture money judgment
y against the defendants equal to the value of any property, real or personal, which is derived from _ . .
s these offenses l d lt 7
50. Upon conviction of any of the offenses alleged in Counts Three through Seven, the
defendants shall forfeit to the United States any property, real or personal, which constitutes or is
derived from proceeds traceable to a violation of those offenses, pursuant to 13 U.S.C.. §
981(n)(1)(c)' and 28
U.S.C. '§ 2461(c). The United States will also seek a forfeiture money judgment against the
defendants equal to the value of any property, real or personal, which constitutes or is derived
from proceeds traceable to these offenses
51. _ Upon conviction of the offense alleged in Count Eight, the defendants shall forfeit
to the United States any property, real or personal, involved in this offense, or any property
traceable to such property, pursuant to 18 U.'S.C. § 982(a)(1). The United States will also seek a
forfeiture money judgment against the defendant equal to the value of any property,: real or _
personal, involved in this offense, or any property traceable to such property.
52. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant
a. cannot be located upon the exercise of due diligence;
- b. has been transferred or sold to, or deposited with, a third party;
t c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e.. s has heen commingled With other property that cannot be divided without

difficulty;

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f. the defendant shall forfeit to the United States any other property of the

defendant, up to the value of the property described above, pursuant to 21 U.S.C. § 85 3 (p).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title -28,
United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p)) h

A TRUE BILL

 

FOREPERSON

SANDRA L. MOSER
ACT]NG CHIEF, FRAUD SECTION
CRIMINAL DIVISION

UNITED STATES DEPARTMENT OF JUSTICE

' By:

 

JAIV[ES J. GELBER
TRIAL ATTORNEY, FRAUD SECTION

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. / n
\\r*' " ` “"l

f. the defendant shall forfeit to the United States any other property of the

defendant, up to the value of the property described above, pursuant to 21 U.S.C. § 853([)).

(Criminal Forfeiture, pursuant to 'l`itle 1»8, United States Code, Section 981(a)(l)(C), Title 28,

United Sates Code, Section 2461(c), and Title 21, United States Code, Section 853(p))

A TRUE BILL

_..,-,_,4~

" ' FUREPERSON '

SANDRA L. MOSER

ACTI`NG CHIEF, FRAUD SECTION
CRlMlNAL DIVISION

UNITED STATES DEPARTMENT OF .TUSTICE

By:

 

JAME .GELBER
ATTORNEY, FRAUD sEcTIoN

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